7/11/2016                  Case 1:16-cv-01402-ABJ Document
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    Tracking Number: 70151520000053205183




    Updated Delivery Day: Monday, July 11, 2016


   Product & Tracking Information                                                                     Available Actions
   Postal Product:                           Features:
   First­Class Mail®                         Certified Mail™                                          Text Updates


       DATE & TIME                           STATUS OF ITEM               LOCATION                    Email Updates

       July 11, 2016 , 4:43 am               Delivered                    WASHINGTON, DC 20530



       Your item was delivered at 4:43 am on July 11, 2016 in WASHINGTON, DC 20530.


       July 10, 2016 , 10:53 am              Business Closed              WASHINGTON, DC 20530

       July 10, 2016 , 6:49 am               Arrived at Hub               WASHINGTON, DC 20018

       July 7, 2016 , 6:18 pm                Departed USPS Facility       GAITHERSBURG, MD 20898

       July 6, 2016 , 7:52 pm                Arrived at USPS Facility     GAITHERSBURG, MD 20898

       July 6, 2016 , 6:07 pm                Departed Post Office         WASHINGTON, DC 20009

       July 6, 2016 , 12:34 pm               Acceptance                   WASHINGTON, DC 20009




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